
PER CURIAM.
This is an appeal from an order imposing a temporary injunction. We affirm upon authority of Sears, Roebuck &amp; Co. v. San Diego County, 436 U.S. 180, 98 S.Ct. 1745, 56 L.Ed.2d 209 (1978), whose rationale is buttressed by the fact that the National Labor Relations Board had earlier determined: (1) that the conduct of Richway and its state court application were not violations of the National Labor Relations Act, and (2) that the appellants’ complaint filed before us be dismissed thereby indicating that it would not provide a forum for this dispute.
AFFIRMED.
DOWNEY, HURLEY and WALDEN, JJ., concur.
